         Case 2:14-cr-00006-APG-GWF Document 265 Filed 03/03/23 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

                                                   ***
 3
     UNITED STATES OF AMERICA,                              Case No. 2:14-cr-0006-APG-GWF
 4
                                      Plaintiff,          Order (1) Appointing Counsel, and
 5                                                          (2) Sealing Financial Affidavit
                    v.
 6 JAMES I. “ASSI” JARIV,                                        [ECF Nos. 257, 258]
                                    Defendant.
 7

 8         I HEREBY ORDER that defendant James Jariv’s motion for appointment of counsel

 9 (ECF No. 257) is granted.

10         I FURTHER ORDER that Jariv’s motion to file his financial affidavit under seal (ECF

11 No. 258) is granted. The financial affidavit filed at ECF No. 258-1 shall remain sealed, but

12 the motion itself, filed at ECF No. 258, shall be unsealed.

13         DATED THIS 3rd day of March, 2023.

14

15
                                                         UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23
